

Matter of Naamye Nyarko B. v Goodwin Edwin C. (2021 NY Slip Op 05453)





Matter of Naamye Nyarko B. v Goodwin Edwin C.


2021 NY Slip Op 05453


Decided on October 12, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2021

Before: Renwick, J.P., Kern, Oing, Mendez, Rodriguez, JJ. 


Docket No. V34239-14/17C V34240-14/17C V04388/17/17A/17B V04389/17/17A/17B Appeal No. 14329 Case No. 2019-3138 

[*1]In the Matter of Naamye Nyarko B., Petitioner-Appellant,
vGoodwin Edwin C., Respondent-Respondent.


Law Offices of Randall S. Carmel, Jericho (Randall S. Carmel of counsel), for appellant.
Bruce A. Young, Brooklyn, for respondent.
Andrew J. Baer, New York, attorney for the children.



Order, Family Court, New York County (Marva A. Burnett, Referee), entered on or about February 27, 2019, which permitted respondent father to travel with the subject children internationally on 60 days written notice to petitioner mother, unanimously reversed, on the facts and in the exercise of discretion, without costs, and the father's request to travel internationally with the children without restriction denied.
Family Court erred in granting the father's request to modify the custody and visitation order to permit him to travel internationally with the children, particularly to Ghana, which is not a party to the Hague Convention on Civil Aspects of International Child Abduction (1343 UNTS 89, TIAS No. 11670 [1980]; see 51 Fed Reg 10494 [1986]), as there is no sound and substantial basis in the record to support a finding that such unrestricted international travel is in the best interests of the young children (see Matter of David H. v Khalima H., 111 AD3d 544, 545 [1st Dept 2013], lv denied 22 NY3d 1149 [2014]; Matter of Bassuk v Bassuk, 93 AD3d 664, 665 [2d Dept 2012];  compare Matter of Ece D. v Sreeram M., 177 AD3d 450, 451 [1st Dept 2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2021








